                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )      Criminal Action No.
v.                                           )      06-00161- 03-CR-W-DW
                                             )
Corey J Helms                                )
                       Defendant.            )


                     MEMORANDUM OF MATTERS DISCUSSED AND
                      ACTION TAKEN AT PRETRIAL CONFERENCE

PENDING CHARGE: Conspiracy to distribute cocaine base in an amount of 50 grams or more
(Count I) and possession with intent to distribute cocaine base in an amount of 5 grams or more
(Count IV).

The following matters were discussed and action taken during the pretrial conference1:

TRIAL COUNSEL:
     Government: Jane Pansing Brown
     Case Agent: Corporal Horn of the Missouri State Highway Patrol
     Defense: David Johnson for defendant Helms

OUTSTANDING MOTIONS: None

TRIAL WITNESSES:
     Government: 2-3
     Defendant: 7, the defendant may testify

TRIAL EXHIBITS
     Government: 6
     Defendant: 4

DEFENSES: general denial and alibi

POSSIBLE DISPOSITION:



       1
        At the outset of the conference, counsel for defendant Tatum indicated that his client was
scheduling a change of plea.


        Case 4:06-cr-00161-DW          Document 44       Filed 01/30/07     Page 1 of 2
       (X) Definitely for trial; ( ) Possibly for trial; ( ) Likely a plea will be worked out

TRIAL TIME: 1 ½ - 2 ½ days
     Government’s case including jury selection: 1- 1 ½ days
     Defense case: ½ - 1 day

STIPULATIONS: Government counsel will propose a stipulation on the chain of custody of the
narcotics.

UNUSUAL QUESTIONS OF LAW: None

FILING DEADLINES:

       Witness and Exhibit List
       Government: filed in accordance with the scheduling order
       Defense: to be filed by January 26, 2007
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: Noon, Wednesday, February 7, 2007
       Please Note: Jury instructions must comply with Local Rule 51.1

       Motion in Limine: None planned

TRIAL SETTING: Criminal jury trial docket commencing February 12, 2007
     Please note: Counsel request the first week of the docket.

IT IS SO ORDERED.


                                                _____________/s/_________________
                                                       SARAH W. HAYS
                                                     United States Magistrate Judge




                                                  2


       Case 4:06-cr-00161-DW            Document 44         Filed 01/30/07       Page 2 of 2
